Case 1:04-cr-10064-.]DT Document 33 Filed 04/18/05 Page 1 of 2 Page|D 44
IN THE UNITED STATES DISTRICT COURT

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UNITED STATES OF AMERICA, Cl-H § 3 Q{S[ g'[
WD §‘ if '~'ACKSON
Plaintiff,
vs. Case No. 1:04cr10064-11
JIMMY RUSSELL BARRETT
Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond. lt now appears
that the defendant has complied with the requirements of said bond and orders of this Court.

IT IS THEREFORE ORDERED that the ( $5000.00/10%= $500.00)appearance bond (receipt 527563) for
this defendant be cancelled and discharged, and the Clerk is directed to issue a check on the Registry in the sum of
$500.00, payable to: Jimmy Barrett, 2295 Hwy 69 N, Paris, TN 38242; in full refund of the cash appearance bond

posted herein.

 

 

UNI D STATES DISTRICT .TUDGE

DATE:NM ?_MS/

Approved:

ROBERT R. DI TROLIO, CLERK OF COURT

BY: @,€MW

Deputy Clerk

 

Thls document entered on the docket sh |n compliance
with nule 55 and;or 32{\)) Fnch on 05

Notice of Distribution

This notice confirms a copy ot`the document docketed as number 33 in
case 1:04-CR-10064 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

